 Case 1:18-cv-00599-LO-JFA Document 19 Filed 07/26/18 Page 1 of 7 PageID# 260



                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA


                                      Alexandria Division


   BELMORALLC,
                         Plaintiff,
           V.


                                                            Civil Action No. 1:18-cv-599
                                                            Hon. Liam O'Grady
   MIDWAY IMPORTING,INC.,

                         Defendant.



                           MEMORANDUM OPINION & ORDER

        This matter comes before the Court on Defendant's Motion to Dismiss for Lack of

Jurisdiction (Dkt. 6). The Court considered the pleadings and the record in the case, and

determined that oral argument would not assist its resolution of the matter.

          I.    BACKGROUND


        Plaintiff Belmora LLC("Belmora")is a pharmaceutical company incorporated in
Virginia, selling over-the-counter health care products. Dkt. 12 at 4. Defendant Midway
Importing, Inc.("Midway")is a Texas company which purchased products from Belmora. Dkt.6
at 1. On April 6,2018, Belmora commenced a civil action in Virginia Circuit Court against
Midway,asserting breach of contract and unjust enrichment due to Midway's failure to pay for
certain purchases between January 18, 2018 and February 12, 2018. See Dkt. 1 at 2-10. Belmora

seeks $580,932,26 in damages. Id. at 12.

        On May 18, 2018, Midway removed the case to this Court and subsequently filed this
Motion to Dismiss under Federal Rule of Civil Procedure 12(b)(2), asserting lack of personal
jurisdiction.
Case 1:18-cv-00599-LO-JFA Document 19 Filed 07/26/18 Page 2 of 7 PageID# 261
Case 1:18-cv-00599-LO-JFA Document 19 Filed 07/26/18 Page 3 of 7 PageID# 262
Case 1:18-cv-00599-LO-JFA Document 19 Filed 07/26/18 Page 4 of 7 PageID# 263
Case 1:18-cv-00599-LO-JFA Document 19 Filed 07/26/18 Page 5 of 7 PageID# 264
Case 1:18-cv-00599-LO-JFA Document 19 Filed 07/26/18 Page 6 of 7 PageID# 265
Case 1:18-cv-00599-LO-JFA Document 19 Filed 07/26/18 Page 7 of 7 PageID# 266
